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    PROPOSED COUNSEL FOR THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                                       §    Chapter 11
                                                                 §
    NATIONAL RIFLE ASSOCIATION OF AMERICA                        §    Case No. 21-30085-hdh11
    AND SEA GIRT LLC,                                            §
                                                                 §
                      Debtors1.                                  §    Jointly Administered

 JOINDER OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO THE
    DEBTORS’ OPPOSITION TO THE MOTION OF CHRISTOPHER W. COX TO
                    MODIFY THE AUTOMATIC STAY

             The Official Committee of Unsecured Creditors (the “Committee”) of the National Rifle

Association of America (the “NRA”) and Sea Girt LLC (collectively, the “Debtors”), hereby

submits this joinder (the “Joinder”) to the Debtors’ Opposition (the “Debtors’ Objection”) [Dkt.

No. 121]2 to the Motion of Christopher W. Cox (I) to Modify the Automatic Stay to Allow a Trial-

Ready Arbitration to Proceed Against the National Rifle Association of America, and (II) For




1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
  An unredacted version of the Debtors’ Objection has not yet been filed on the docket.

                                                      1
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Related Relief (the “Cox Motion for Relief From Stay”) [Dkt. No. 63].3

                                                     JOINDER

           1.       On January 25, 2021, Christopher W. Cox (“Cox”) filed the Cox Motion for Relief

From Stay. The Cox Motion for Relief From Stay requests an Order from the Court: (a) modifying

the automatic stay to allow an arbitration to proceed against the NRA that was set for trial on

January 18, 2021 (the “Arbitration”); and (b) declaring that the automatic stay does not stay the

NRA’s counterclaims against Cox in the Arbitration.

           2.       The Debtors have asserted in the Debtors’ Objection that the Cox Motion for Relief

From Stay should be denied because: (a) the automatic stay applies to the Arbitration and NRA’s

counterclaims against Cox in the Arbitration; and (b) Cox has not established cause for relief from

the automatic stay.

           3.       The Committee takes no position at this time with respect to the underlying merits

of the Arbitration, but hereby joins in, and incorporates herein by reference, the Debtors’ Objection

and adopts the arguments raised therein as its own. The Committee further believes that allowing

the Arbitration to proceed at this time would be premature and impose an unnecessary burden on

the Debtors’ estates, without any commensurate prejudice to Cox, given that the Debtors are

currently dealing with several critical issues in these chapter 11 cases that affect the interests of all

creditors and parties in interest. Therefore, the Committee requests that the relief requested in the

Cox Motion for Relief From Stay be denied.

           4.       The Committee reserves all rights to amend or supplement this Joinder.

           WHEREFORE, the Committee respectfully requests that the Court deny the Cox Motion

for Relief From Stay and for such other relief as is just.



3
    A sealed version of the Cox Motion for Relief From Stay was filed at Dkt. No. 75.

                                                           2
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 Dated: February 15, 2021                         Respectfully submitted,

                                                  NORTON ROSE FULBRIGHT US LLP

                                                  By: /s/ Kristian W. Gluck
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                                                  Proposed Counsel to the Official Committee of
                                                  Unsecured Creditors



                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
document was served upon the counsel and parties of record, electronically through the
Bankruptcy Court’s Electronic Case Filing System on those parties that have consented to such
service, on the 15th day of February, 2021.

                                                       /s/ Kristian W. Gluck
                                                       Kristian W. Gluck




                                              3
